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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   NORTHERN DIVISION

CATO INSTITUTE, and MACKINAC
CENTER FOR PUBLIC POLICY

                        Plaintiffs,                            Case No. 1:23-cv-11906

v.                                                             Honorable Thomas L. Ludington
                                                               United States District Judge
MIGUEL CARDONA et al.

                  Defendants.
______________________________________/

     ORDER DIRECTING PLAINTIFF TO SHOW CAUSE WHY LOCAL RULE 83.20(f)
                       SHOULD NOT BE ENFORCED

         On August 4, 2023, Plaintiff filed a complaint with this Court alleging violations of the

Appropriations Clause of Article I Section 9 of the U.S. Constitution and the Administrative

Procedure Act.

         Local Rule 83.20(f)(1) provides that:

         A member of the bar of this court who appears as attorney of record in the district
         court and is not an active member of the State Bar of Michigan must specify as
         local counsel a member of the bar of this court with an office in the district. Local
         counsel must enter an appearance and have the authority and responsibility to
         conduct the case if non-local counsel does not do so. On application, the court may
         relieve an attorney who is not an active member of the State Bar of Michigan of the
         obligation to specify local counsel.

E.D. Mich. LR 83.20(f)(1).

         Plaintiff’s counsel on record, Sheng Li, does not appear to be barred in the state of

Michigan and has not applied for relief from Local Rule 83.20(f)(1). For these reasons, Plaintiff

will be directed to show cause why Local Rule 83.20(f) should not be enforced.

         Accordingly, it is ORDERED that Defendant is DIRECTED to show cause in writing on

or before August 21, 2023, why Local Rule 83.20(f) should not be enforced.
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    Dated: August 7, 2023                s/Thomas L. Ludington
                                         THOMAS L. LUDINGTON
                                         United States District Judge




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